                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Atlanta Plumbers and Steamfitters
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Retiree
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Pension
Fund, Plumbers and Steamfitters
Local 72 Defined Contribution Fund,
and Terry Newsome, Jr. and Jon
Sterling, as Trustees of said Funds,

                 Plaintiffs,

        vs.                                    Case No.: 1:21-cv-03263-ELR

Metropolitan Mechanical, Inc.,

                 Defendant.


                                 Default Judgment

        Having considered Plaintiffs’ Motion for Entry of Default Judgment Against

Defendant Metropolitan Mechanical, Inc. (“Defendant”), submitted pursuant to

Fed. R. Civ. P. 55(a), the Proof of Service of Process on Defendant, and the Default

entered in this case, being all materials in the record in this civil action, and the

applicable law, the Court finds that Defendant failed to file an answer to Plaintiffs’

Complaint following lawful service of process, and that Plaintiffs, consequently,

are entitled to the monetary judgment for liquidated damages sought by Plaintiffs

in their Complaint. Accordingly, it is

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        ORDERED AND ADJUDGED that, pursuant to Fed. R. Civ. P. 55(a),

Plaintiffs are granted a final judgment by default against Defendant Metropolitan

Mechanical, Inc. for monetary damages, as though each and every allegation of the

Complaint were supported by credible evidence, in the total sum of $89,645.16

which is comprised of (a) $75,742.66 principal for unpaid Contributions to the

Funds; (b) $7,574.27 in statutory liquidated damages; and (c) attorneys’ fees of

$6,328.23, all as provided by 29 U.S.C. § 1132(g)(2). Post-judgment interest will

accrue as provided by law.


        So Ordered and Adjudged this ___ day of                , 20___.




                                      Judge Eleanor L. Ross
                                      United States District Court
                                      Northern District of Georgia




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                                 Certificate of Service

        I certify that, on this date, I served Defendant with a copy of the foregoing

Proposed Default Judgment by electronic filing, which will cause a copy to be

delivered to:

                           Howard P. Slomka
                           Howard Slomka P.C.
                           6400 Powers Ferry Road, N.W.
                           Suite 391
                           Atlanta, Georgia 30339

        January 7, 2022.

                                       A RNALL G OLDEN G REGORY LLP


                                       /s/ C. Knox Withers
                                       C. Knox Withers
                                       Georgia Bar No. 142482

                                       Attorneys for Plaintiffs

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